              Case 2:10-md-02179-CJB-DPC Document 3880-1 Filed 08/31/11 Page 1 of 2

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                     Eastern District
                                                  __________  DistrictofofLouisiana
                                                                           __________


          Tim Terrell as a Class Representative                    )
                                                                   )
                             Plaintiff                                                      MDL 10-2179 Section J
                                                                   )
                                v.                                 )       Civil Action No. 11-cv-1806
                                                                   )
                BP p.l.c. and Donald Vidrine                       )
                            Defendant
                                                                   )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BP EXPLORATION & PRODUCTION INC.
                                         Through its registered agent:
                                         CT Corporation System
                                         5615 Corporate Blvd., Ste. 400B
                                         Baton Rouge, LA 70808




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                         Byard "Peck" Edwards, Jr.                         Max Folkenflik
                                         Byard "Peck" Edwards & Associates, L.L.C.         Folkenflik & McGerity
                                         902 C.M. Fagan Drive                              1500 Broadway, 21st Floor
                                         Suite G                                           New York, NY 10036
                                         Hammond, LA 70403


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk


                Aug 31 2011
               Case 2:10-md-02179-CJB-DPC Document 3880-1 Filed 08/31/11 Page 2 of 2

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No. MDL 10-2179 Section J
                         11-cv-1806
                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
                                                                      BP Exploration & Production Inc., through its registered
           This summons for (name of individual and title, if any)    agent CT Corporation System,
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
